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                                                                                    July 16, 2019


      VIA EMAIL
      Honorable John J. McConnell, Jr.
      United States District Court
      One Exchange Terrace
      Providence, RI 02903

                                      Re: John Doe v. Brown University
                                      17-cv-191 JJM-LDA

      Dear Judge McConnell:

               On behalf of Plaintiff, we are writing to request that the Court extend the Scheduling
       Order by 60 days to complete expert discovery. Plaintiff had to replace an expert due to a
       conflict. Plaintiff has effectively mitigated the issue and has retained a new expert, whose
       schedule prohibits full disclosures by July 29, 2019 as currently scheduled. We also request that
       the deadlines for expert depositions and dispositive motions also be extended by 60 days.

               We have consulted with Steve Richard on behalf of Brown on Thursday, July 12, 2019,
       but they have yet to express a position on this request.

              Plaintiff’s counsel is available for a conference call at the Court’s convenience, if
       requested.

                                                             Respectfully Submitted,

                                                             /s/ Susan Kaplan



       cc:    Steven M. Richard, Esq.
              Sonja L. Deyoe, Esq.
